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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 VICTORIA LOVETT, individually and on             :    CASE NO. 1:24-cv-00590
 behalf of all others similarly situated,         :
                                                  :    Judge Douglas R. Cole
                    Plaintiff,                    :
                                                  :
 v.                                               :
                                                  :
 CONTINUED.COM, LLC,                              :
                                                  :
                    Defendant.                    :
                                                  :

      DEFENDANT CONTINUED.COM, LLC’S MOTION TO DISMISS PLAINTIFF’S
                      FIRST AMENDED COMPLAINT

        Defendant Continued.com, LLC (“Continued”) moves to dismiss Plaintiff’s First Amended

Complaint under Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim on which

relief may be granted. Plaintiff has not pleaded a viable claim under the Video Privacy Protection

Act, 18 U.S.C. § 2710.

        A supporting memorandum accompanies this motion.

                                                  Respectfully submitted,

                                                  /s/ Beth A. Bryan
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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

VICTORIA LOVETT, individually and on       :   CASE NO. 1:24-cv-00590
behalf of all others similarly situated,   :
                                           :   Judge Douglas R. Cole
                 Plaintiff,                :
                                           :
v.                                         :
                                           :
CONTINUED.COM, LLC,                        :
                                           :
                 Defendant.                :
                                           :

       DEFENDANT CONTINUED.COM, LLC’s MEMORANDUM IN SUPPORT
     OF ITS MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
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                             INTRODUCTION AND SUMMARY

       Defendant Continued.com, LLC (“Continued”) respectfully submits this Motion to

Dismiss Plaintiff Victoria Lovett’s First Amended Complaint under Federal Rule of Civil

Procedure 12(b)(6). This motion follows the Court’s prior order dismissing Plaintiff’s original

complaint without prejudice for failing to allege that Continued disclosed any “specific videos or

content” watched by Plaintiff. (Doc. 14, Op. at 9.) Plaintiff has filed a First Amended Complaint

that may have cured this particular pleading deficiency. (See, e.g., Doc. 16, First Am. Compl. ¶¶

3, 12, at PageID 123, 125.) But even after amendment, Plaintiff still fails to plausibly allege a

claim under the Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710.

       Plaintiff’s First Amended Complaint, like her original complaint, seeks to extend the VPPA

far beyond its original scope. In an attempt to cash in on statutory damages, Plaintiff alleges, as

have dozens of other plaintiffs across the country, that any website hosting video content is a

“video tape service provider” under the VPPA and that a common marketing tool called the Meta

Pixel violates the VPPA. But such allegations go far beyond the scope of the VPPA as originally

understood.

       The VPPA allows the “consumer” of a “video tape service provider” to bring a claim if the

provider “knowingly” disclosed the consumer’s “personally identifiable information.” 18 U.S.C.

§ 2710(b)(1). A “video tape service provider” is a “person engaged in the business, in or affecting

interstate or foreign commerce, of rental, sale, or delivery of prerecorded video cassette tapes or

similar audio visual materials.” Id. § 2710(a)(4). And “personally identifiable information” is that

“which identifies a person as having requested or obtained specific video materials or services

from a video tape service provider.” Id. § 2710(a)(3).




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       Plaintiff’s allegations are far removed from the VPPA’s original scope. Plaintiff did not

sue a video store that rented her VHS tapes or similar audio-visual materials–instead, she sued the

operator of a website hosting educational videos. Nor does Plaintiff claim that Continued

publicized her video-viewing history by name and in plain English–instead, she claims that it sent

a data transmission of her video-viewing history in code to tech giant Meta, linked to her

anonymized FID number. These allegations are leagues away from the privacy violations the

VPPA prohibited and do not state a claim for a violation of the VPPA.

       Like her original complaint, Plaintiff’s First Amended Complaint fails to state a ripe or

viable claim against Continued on which relief may be granted and should be dismissed under Fed.

R. Civ. P. 12(b)(6). Since Plaintiff’s claims are fatally deficient, the Court should dismiss

Plaintiffs’ First Amended Complaint, just as it dismissed her original complaint—but this time

with prejudice.

                            MATERIAL FACTUAL BACKGROUND

       A.         The Parties.

       Plaintiff alleges that Continued “operates and maintains a family of Websites, where it sells

video services that provide unlimited access to prerecorded video content on various topics such

as Speech Pathology, Audiology, Physical Therapy, and Occupational Therapy.” (Doc. 16, First

Am. Compl. ¶ 15, at PageID 126.) Generally, licensed professionals use Continued’s websites to

satisfy their continuing education requirements. (See id. ¶¶ 43, 71, at PageID 135, 143.) Plaintiff

does not suggest that users can access the websites’ video content other than online, such as by

requesting DVDs.

       Plaintiff alleges that, around August 15, 2023, she registered and paid for a one-year

subscription for “access to unlimited prerecorded videos” on SpeechPathology.com, one of the

websites operated by Continued. (Id. ¶ 9, at PageID 124.) According to Plaintiff, she then used her
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SpeechPathology.com subscription “to request and obtain pre-recorded videos.” (Id. ¶ 10, at

PageID 125.) Plaintiff does not claim that she used SpeechPathology.com to satisfy continuing

education requirements—or even that she is a licensed speech pathologist.

       B.      The Meta Pixel.

       Plaintiff alleges that Continued uses the “Meta Pixel” on its websites. (Id. ¶¶ 2, 54, at

PageID 122, 139.) According to Plaintiff, the Meta Pixel is a “unique string of code that companies

can embed on their websites to monitor and track the actions taken by visitors to their websites

and to report them back to Meta.” (Id. ¶ 56, at PageID 140.) Meta, formerly known as Facebook,

developed and owns the Pixel. (Id.)

       Plaintiff alleges that Meta can identify a website’s users, so long as they have a Facebook

account, since the Pixel sends users’ Facebook ID number (“FID”) to Meta. (Id. ¶ 57, at PageID

140.) According to Plaintiff, a FID is “a unique sequence of numbers linked to a specific Meta

profile.” (Id. ¶ 3, at PageID 123.) Plaintiff alleges that Meta “then monetizes” the information

transmitted by the Meta Pixel “by selling advertisers the ability to serve highly targeted

advertisements.” (Id. ¶ 69, at PageID 143.)

       C.      The Alleged Disclosures.

       According to Plaintiff, Continued “intentionally programmed its websites . . . to include a

Meta Pixel.” (Id. ¶ 75, at PageID 144.) When it installed the Pixel, Continued allegedly knew that

it would automatically transmit its website subscribers’ “Video Information” to Meta, along with

their FIDs. (See id. ¶ 93, at PageID 150–51.) Plaintiff also alleges that, throughout this period, she

“had a Meta account, a Meta profile, and an FID associated with such profile.” (Id. ¶ 11, at PageID

125.) Plaintiff alleges that a “Meta profile” generally “identifies by name the specific person to

whom the profile belongs (and also contains other personally identifying information about the

person.)” (Id. ¶ 3, at PageID 123.) But Plaintiff does not specify whether her “Meta account”
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publicly displays her name or other personal information (such as her email, home address, or

social security number).

        Plaintiff alleges that the Pixel “disclosed [her] Private Viewing Information (including her

FID, the URL identifying the specific video service she purchased, and the specific titles of

prerecorded videos she requested or obtained and their accompanying URL) to Meta.” (Id. ¶ 14,

at PageID 126.) Plaintiff claims she “never consented, agreed, authorized, or otherwise permitted”

Continued “to disclose her Private Video Information to Meta.” (Id. ¶ 13, at PageID 125.)

        D.      The Proposed Class.

        Plaintiff seeks to represent a class consisting of all persons who, during the two years before

her complaint, bought a subscription to a website owned by Continued and used it to watch

continuing education video courses while keeping a Meta account. (Id. ¶ 82, at PageID 146–47.)

                                   SUMMARY OF ARGUMENT

        The Complaint should be dismissed under Rule 12(b)(6) for failure to state a claim upon

which relief can be granted. A complaint must be dismissed if it lacks “sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (citation omitted). The Court should “construe the complaint in the light most

favorable to the plaintiff, accept its allegations as true, and draw all reasonable inferences in favor

of the plaintiff.” Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008). But

the Court “need not accept as true legal conclusions or unwarranted factual inferences, and

conclusory allegations or legal conclusions masquerading as factual allegations will not suffice.”

Terry v. Tyson Farms, Inc., 604 F.3d 272, 276 (6th Cir. 2010) (internal quotation marks and

citation omitted).

        The VPPA prohibits a “video tape service provider” from “knowingly” disclosing to a third

party the “personally identifiable information” of any “consumer.” 18 U.S.C. § 2710(b). So to
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bring a VPPA claim, a plaintiff must plausibly allege facts supporting three elements. First, that

the defendant is a “video tape service provider.” Second, that the plaintiff is a “consumer” of the

“video tape service provider.” And third, that the defendant “knowingly disclose[d]” the plaintiff’s

“personally identifiable information” without authorization. Plaintiff has failed to plausibly allege

facts making a VPPA claim.

       First, Plaintiff does not plausibly allege that Continued is a “video tape service provider.”

Plaintiff alleges that Continued operates continuing-education websites that host digital video

content. But the VPPA’s plain text and history make clear that the statute does not regulate videos

available exclusively online. Congress enacted the VPPA to protect the privacy of people who

rented movie tapes from video stores—not to regulate the whole world wide web. The VPPA’s

text makes this clear, covering only “prerecorded video cassette tapes” and “similar audio visual

materials.” Taken together, these terms encompass only physical objects containing video media–

rather than ephemeral transmissions of video content, such as digital videos. Since Plaintiff failed

to allege that Continued rents, sells, or delivers any physical objects containing audio-visual

materials, she has not alleged that Continued is regulated by the VPPA. Allowing Plaintiff’s suit

to proceed would extend the VPPA’s reach from video tape rentals to the whole Internet. The

Court should refuse to expand the VPPA so radically beyond its original meaning.

       Second, Plaintiff does not plausibly allege that Continued disclosed her “personally

identifiable information.” Plaintiff alleges that, every time she watched a SpeechPathology.com

video, the Meta Pixel—a string of programming code—transmitted her FID number, the video

webpage URL, and a variety of “event data” to Meta. Plaintiff asserts that this transmission

constitutes her “personally identifying information.” Not so. Courts have consistently held that a

VPPA plaintiff must plausibly allege that the defendant’s unauthorized disclosure would allow an



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ordinary person to connect the plaintiff personally to specific videos she requested or obtained.

Plaintiff’s First Amended Complaint fails this test twice over. On the one hand, Plaintiff does not

plausibly allege that her FID—an anonymized number—identifies her personally, because she

fails to allege what personal information (if any) is publicly displayed on the Meta profile

associated with her FID. On the other, Plaintiff does not plausibly allege how an ordinary person

could decode the Pixel’s code transmissions to identify her personal identity and

SpeechPathology.com video-viewing history.

        Finally, Plaintiff has failed to plausibly allege that any disclosure of her “personally

identifiable information” was made with the required mens rea: knowledge. Plaintiff claims that

Continued knew, when it installed the Meta Pixel on its websites, that the Pixel would transmit

subscribers’ purchase of a subscription along with their FID. But to satisfy the VPPA’s mens rea

requirement, a plaintiff must show that a defendant knew that both user- and video-identifying

information it disclosed would be linked to reconstruct “personally identifiable information.”

Plaintiff does not plausibly allege that Continued knew that Meta (or anyone else) would pair her

FID with her SpeechPathology.com video-viewing history to personally identify what specific

videos she watched. So she cannot satisfy the VPPA’s mens rea requirement.

                                          ARGUMENT

I.       Plaintiff Fails to State a VPPA Claim Because Continued Is Not a “Video Tape
         Service Provider.”

        As a start, Plaintiff’s complaint fails to plausibly allege that Continued is a “video tape

service provider,” which the VPPA defines as “any person, engaged in the business . . . of rental,




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sale, or delivery of prerecorded video cassette tapes or similar audio visual materials.” 18 U.S.C.

§ 2710(a)(4).

        Nearly forty years after the VPPA’s enactment, some courts have simply assumed that

websites hosting exclusively digital video content are “video tape service providers,” because they

provide consumers with “audio visual materials.” See, e.g., Stark v. Patreon, Inc., 635 F. Supp. 3d

841, 851 (N.D. Cal. 2022).1 But this broad reading ignores both the VPPA’s text and its history.

        This Court has an obligation to interpret the VPPA in line with its ordinary meaning when

enacted in 1988, rather than to match present-day expectations. See Niz-Chavez v. Garland, 593

U.S. 155, 160 (2021); see also Antonin Scalia & Bryan A. Garner, Reading Law: The

Interpretation of Legal Texts (2012) at 69 (“The ordinary-meaning rule is the most fundamental

semantic rule of interpretation.”). Reading the phrase “audio visual materials” in isolation betrays

the ordinary-meaning rule by ignoring the statutory context that informed its meaning in 1988. See

Helvering v. Gregory, 69 F.2d 809, 810–11 (2d Cir. 1934) (L. Hand, J.) (“[T]he meaning of a

sentence may be more than that of the separate words, as a melody is more than the notes, and no

degree of particularity can ever obviate recourse to the setting in which all appear, and which all

collectively create.”).

        So does Continued qualify as a “video tape service provider?” 18 U.S.C. § 2710(a)(4)

(“[A]ny person engaged in the business … of rental, sale, or delivery of prerecorded video cassette

tapes or similar audio visual materials.”) (emphases added). The first part is easy. Continued does

not rent, sell, or deliver “prerecorded video cassette tapes”—rectangular plastic cartridges that




1
 Perhaps surprisingly, only a single court appears to have expressly considered whether the VPPA
may not apply to exclusively-digital video content. See In re Hulu Priv. Litig., No. 11-3764, 2012
WL 3282960, at *6 (N.D. Cal. 2012) (finding that it does, “[g]iven Congress’s concern with
protecting consumers’ privacy in an evolving technological world.”).
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contain an audio-visual recording. Continued instead hosts digital video content on websites like

SpeechPathology.com. (Doc. 16, First Am. Compl. ¶ 15, at PageID 126.)

        But does Continued provide consumers with “audio visual materials” that are “similar” to

“prerecorded video cassette tapes?” Dictionary definitions help clarify this phrase’s ordinary

meaning when Congress enacted the VPPA. See Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S.

560, 566–69 (2012). First, two things were “similar” when they had “the same substance or

structure throughout.” Similar, Oxford English Dictionary (2d ed. 1989). See also Similar, Black’s

Law Dictionary (5th ed. 1979) (“Nearly corresponding; resembling in many respects; somewhat

like; having a general likeness.”); id. (6th ed. 1990) (same). In turn, “materials” generally were

things composed of physical matter. Material, The Random House College Dictionary (Rev. ed.

1988) (“The substance or substances of which a thing is made or composed”; alternatively,

“Formed or consisting of matter; physical; corporeal”).

        Putting both definitions together reveals that only other physical objects containing audio-

visual recordings are “similar audio visual materials” to “prerecorded video cassette tapes.” Faced

with this language, an ordinary person in 1988 would have listed only items like film reels and

discs, physical objects performing the same function as “prerecorded video cassette tapes”:

allowing consumers to play a single, pre-recorded audiovisual recording.2 To be sure, in 1988,




2
  If the Court is willing to consider such evidence, the VPPA’s legislative history reinforces the
text’s plain meaning. The Senate Judiciary Committee’s report listed three physical objects
containing audio-visual recordings as examples of “similar audio visual materials”: “laser discs,
open-reel movies, [and] CDI technology.” S. Rep. No. 100-599, at 12 (1988), as reprinted in 1988
U.S.C.C.A.N. 4342-1, 4342-10. The report also emphasized the VPPA’s focus on entities
distributing physical objects audio-visual recordings by describing the Act as prohibiting “video
stores from disclosing ‘personally identifiable information.’” Id. at 6, as reprinted in 1988
U.S.C.C.A.N. at 4342-7 (emphasis added).


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online video streaming was still back in the future. But other non-physical audio-visual

transmissions did exist, from pre-recorded TV programming to movie theater screenings. And an

ordinary person would have concluded that the VPPA didn’t cover those either. See Osheske v.

Silver Cinemas Acquisition Co., 700 F. Supp. 3d 921, 925 (C.D. Cal. 2023) (finding that movie

theaters are not “video tape service providers”).

        The contextual canon of Noscitur a sociis (“a word is known by the company it keeps”)

reinforces this reading. Yates v. United States, 574 U.S. 528, 543 (2015). This canon counsels

interpreters “to avoid ascribing to one word a meaning so broad that it is inconsistent with its

accompanying words.” Id. (quoting Gustafson v. Alloyd Co., 513 U.S. 561, 575 (1995)); see also

Reading Law at 195 (“Associated words bear on one another’s meaning.”). Here, the canon

suggests that “similar audio visual materials” is “appropriately read to refer, not to any” video

content, including digital media, but “specifically to the subset” of “audio visual materials” that

consumers can physically handle. See Yates, 574 U.S. at 544.

        If the Court has any remaining doubts about the VPPA’s scope, it should resolve them in

Continued’s favor. On the one hand, the VPPA is codified as a criminal statute with civil penalties,3

so it must be construed strictly under the rule of lenity. See Leocal v. Ashcroft, 543 U.S. 1, 11 n.8

(2004). On the other, the VPPA’s title—“Wrongful disclosure of video tape rental or sale records,”

18 U.S.C. § 2710—may be instructive. See Almendarez-Torres v. United States, 523 U.S. 224, 234

(1998) (“[T]he title of a statute and the heading of a section are tools available for the resolution

of a doubt about the meaning of the statute.”). The title’s exclusive focus on video tapes suggests




3
 The VPPA is codified under Title 18 of the United States Code, which covers “Crimes and
Criminal Procedure.”


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the VPPA should not be read as an “all-encompassing” data privacy regulation covering intangible

transmissions of video content quite unlike video cassette tapes. Yates, 574 U.S. at 540.

          Applying the VPPA to the modern-day Internet is “akin to placing a square peg into a round

hole.” Robinson v. Disney Online, 152 F. Supp. 3d 175, 184 (S.D.N.Y. 2015) (cleaned up).

Allowing claims like Plaintiff’s would extend “the law to cover factual circumstances far removed

from those that motivated its passage.” See In re Nickelodeon Consumer Privacy Litig., 827 F.3d

262, 284 (3d Cir. 2016). This Court should refuse Plaintiff’s invitation to do so, especially given

the plain meaning of the VPPA’s text.

          Since Continued does not distribute “similar audio visual materials” to “prerecorded video

cassette tapes,” Plaintiff has failed to plausibly allege that Continued is a “video tape service

provider” under the VPPA.4

II.       Plaintiff Fails to State a VPPA Claim Because She Does Not Plausibly Allege that the
          Pixel Transmitted her “Personally Identifiable Information.”

          Plaintiff’s First Amended Complaint also fails because it does not plausibly allege that

Continued “disclosed” her “personally identifiable information.” The VPPA defines “personally

identifiable information” as “information which identifies a person as having requested or

obtained specific video materials or services from a video tape service provider.” 18 U.S.C. §




4
 Plaintiff’s failure to plausibly allege that Continued is a “video tape service provider” also dooms
her claim she is a “consumer,” which the VPPA defines as a “renter, purchaser, or subscriber of
goods or services from a video tape service provider.” 18 U.S.C. § 2710(a)(1) (emphasis added).
Since Continued is not a “video tape service provider,” Plaintiff cannot claim to have purchased
goods or services from one. As the Sixth Circuit has recently explained, “the most natural reading,
which accounts for the context of both definitions, shows that a person is a ‘consumer’ only when
he subscribes to ‘goods or services’ in the nature of ‘video cassette tapes or similar audio visual
materials.’” Salazar v. Paramount Glob., 133 F.4th 642, 650–51 (6th Cir. 2025) (quoting 18 U.S.C.
§§ 2710(a)(1), (4)). And, as explained above, the online continuing education courses that Plaintiff
allegedly accessed on SpeechPathology.com are neither “prerecorded video cassette tapes” nor
“similar audio-visual materials.”
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2710(a)(3) (emphases added). This definition “suggests that the information disclosed by a video

tape service provider must, at the very least, identify a particular person—not just an anonymous

individual—and connect this particular person with his or her viewing history.” Robinson, 152 F.

Supp. 3d at 179. Although the Sixth Circuit has yet to weigh in, most Circuits have interpreted

“personally identifiable information” along these lines to encompass only information that “readily

permits an ordinary person to identify a particular individual as having watched certain videos.”

Eichenberger v. ESPN, Inc., 876 F.3d 979, 985 (9th Cir. 2017) (quoting In re Nickelodeon

Consumer Privacy Litig., 827 F.3d 262, 274 (3d Cir. 2016)); see also Solomon v. Flipps Media,

Inc., 136 F.4th 41, 51 (2d Cir. 2025) (adopting this ordinary-person standard).

       Turning to the First Amended Complain, does it plausibly assert that the Meta Pixel’s

transmissions identified Plaintiff personally? No. Plaintiff does not allege that Continued disclosed

her name, address, social security number, or any other direct personal identifier to Meta. Instead,

Plaintiff alleges only that the Pixel’s transmissions included her FID. (Doc. 16, First Am. Compl.

¶¶ 11, 14, 54, 73–77, at PageID 125–26, 139, 144–46.) But Plaintiff’s FID is just a “sequence of

numbers” that, by itself, does not reveal her identity any more than the number “4” reveals Mark

Zuckerberg’s. (Id. ¶¶ 3, 57 n.21, at PageID 123, 140.)

       To be sure, Plaintiff also claims that a person in the know could use her FID to find her

Meta account “by accessing the URL www.facebook.com/[unencryptedFID]/.” (Id. ¶ 76, at

PageID 144–45.) But this allegation cannot by itself establish a disclosure of Plaintiff’s “personally

identifiable information” for two main reasons.

       For a start, Plaintiff does not allege that her Meta account contains any of her personal

information, such as her name or email address. (See id. ¶¶ 8, 11, at PageID 124–5.) Under the

facts alleged, the account could very well be a pseudonymous or “burner” account—or might be



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set to “private,” shielding any personal information from public display. Simply pleading that

Plaintiff’s FID was disclosed does not plausibly allege she was personally identified—absent an

allegation that the FID linked to a Meta page containing Plaintiff’s personal information (such as

her name, email, or home address). See, e.g., Ghanaat v. Numerade Labs, Inc., 689 F. Supp. 3d

714, 720 (N.D. Cal. 2023); Edwards v. Learfield Commc’ns, 697 F. Supp. 3d 1297, 1307 (N.D.

Fla. 2023). But see Feldman v. Star Trib. Media Co., LLC, 659 F. Supp. 3d 1006, 1020–21 (D.

Minn. 2023). Plaintiff’s generic allegations about the information on a typical Meta profile cannot

substitute for specific allegations about her own profile. (See Doc. 16, First Am. Compl. ¶ 3, at

PageID 123.) After all, while Plaintiff “alleges what sort of information could be included on a

[Meta] profile,” her First Amended Complaint simply contains “no allegation as to what

information was actually included on [her Meta] profile nor how that information could used by a

third party to identify” Plaintiff. See Wilson v. Triller, 598 F. Supp. 3d 82, 92 (S.D.N.Y. 2022)

(emphasis added).5

        Even if Plaintiff’s Meta profile contained personal information, her First Amended

Complaint still fails to plausibly allege that an ordinary person reviewing a Pixel transmission




5
  Although Wilson is the rare recent VPPA case not involving the Meta Pixel, it is still instructive
here. The Wilson plaintiff alleged that social media application Triller disclosed her user ID to
third parties, along with information about videos she watched on the application. Wilson v. Triller,
958 F. Supp. 3d 82, 92 (S.D.N.Y. 2022). But before it could learn a Triller user’s identity, a third
party would need to “pair” the user’s Triller ID with “information from [her] Triller profile page,
which may or may not contain various personal information about the user.” Id. But the plaintiff
failed to allege that her Triller profile contained any of her personal information—nor did she
explain how a third party could use information on her profile to identify the plaintiff’s identity.
Id. As a result, the court found that the plaintiff failed to plausibly allege that Triller disclosed her
“personally identifiable information.” Id. Wilson’s rationale applies equally here, where Plaintiff
alleged only what kind of information is generally included on Meta profiles, but failed to allege
what information is actually available on her own Meta profile or how that information could be
used to identify her personally.


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would readily identify Plaintiff personally and her SpeechPathology.com video history. In

Plaintiff’s account, each Pixel transmission contains a bundle of information, including: (1) her

FID; (2) the URL of the webpage triggering the transmission; and (3) a variety of “event data,”

including “Page View, Subscribe, ‘Play’ button click to intiate [sic] a video starting, and more.”

(See Doc. 16, First Am. Compl. ¶¶ 3, 54, 64–66, 75, at PageID 123, 139, 142, 144.) Plaintiff does

not identify the format in which the Pixel transmits this data—likely because the Pixel, a “snippet

of programming code,” transmits data in code rather than in plain English. (See id. ¶ 2, at PageID

122.) Much less does Plaintiff explain how an ordinary person could decode a Pixel transmission

or understand its significance. See In re Nickelodeon, 827 F.3d at 283 (“To an average person, an

IP address or a digital code in a cookie file would likely be of little help in trying to identify an

actual person.”).

       In a similar case, the Second Circuit concluded that identical allegations failed to plausibly

allege that a Meta Pixel transmission “would, with little, or no extra effort, permit an ordinary

recipient to identify [the plaintiff’s] video-watching habits.” Solomon, 136 F.4th at 54 (quoting In

re Nickelodeon, 827 F.3d at 284). The Second Circuit’s reasoning applies equally well here. For a

start, Plaintiff’s First Amended “Complaint lacks any detail about how an ordinary person might

access the information” transmitted by the Pixel. Id. at 54. “But even assuming, arguendo, that an

ordinary person could somehow gain access to the transmission, the Complaint is also devoid of

any details about how an ordinary person would use [the] FID to identify” Plaintiff. Id. The simple

allegation that the Pixel transmitted a user’s FID, a mere “sequence of numbers” that is “embedded

in many other lines of code,” does not “plausibly allege that an ordinary person could identify”

Plaintiff’s real identity—even if an ordinary person could hypothetically find the FID buried in a

transmission and use a web browser to pull up Plaintiff’s Meta profile. Id. Like the Second Circuit,



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 this Court should conclude that the mere allegation that a Pixel transmitted a website user’s FID

 and video-viewing history, without explaining how an ordinary person could decode the

 transmission, does not plausibly allege a disclosure of a user’s “personally-identifying

 information.”6

III.       Plaintiff Fails to State a VPPA Claim Because She Has Not Adequately Alleged That
           Any Disclosure Was “Knowing.”

           Even if Plaintiff did adequately allege that Continued disclosed her “personally identifiable

 information,” she has not sufficiently alleged that Continued disclosed the information

 “knowingly.”

           As a criminal statute with civil penalties, the VPPA includes a mens rea requirement: a

 disclosure of “personally identifiable information” must be made “knowingly.” 18 U.S.C. §

 2710(b)(1). To satisfy the VPPA’s knowledge requirement, a plaintiff must plausibly claim that

 the defendant “actually knew that it was disclosing: 1) a user’s identity; 2) the identity of the video

 material; and 3) the connection between the two.” In re Hulu Priv. Litig., 86 F. Supp. 3d 1090,

 1097 (N.D. Cal. 2015); accord Adams v. America’s Test Kitchen, LP, 680 F. Supp. 3d 31, 43 (D.

 Mass 2023); Feldman v. Star Trib. Media Co. LLC, 659 F. Supp. 3d 1006, 1019 (D. Minn. 2023);

 Aldana v. GameStop, Inc., No. 22-CV-7063-LTS, 2024 WL 708589, at *9 (S.D.N.Y. Feb. 21,



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   To be sure, one Circuit seems to have adopted a more expansive definition of “personally
 identifiable information.” The First Circuit suggested that “personally identifiable information”
 extends to “information reasonably and foreseeably likely to reveal which . . . videos [the
 consumer] has obtained.” Yershov v. Gannett Satellite Info. Network, Inc., 820 F.3d 482, 486 (1st
 Cir. 2016) (finding that an iPhone user’s GPS coordinates and device identifier were “personally
 identifiable information”). This approach appears to expand the statutory definition of the term
 beyond its plain meaning, which is limited to “information which identifies a person.” 18 U.S.C.
 § 2710(a)(3). But in any event, Plaintiff’s First Amended Complaint fails even the First Circuit’s
 test, since it includes no allegations suggesting that receipt of a Pixel transmission—a string of
 code including Plaintiff’s anonymized numeric FID, which in turn could be used to locate a Meta
 profile that could contain Plaintiff’s personal information—was “reasonably and foreseeably likely
 to reveal” Plaintiff’s personal identity and video-viewing history. Yershov, 820 F.3d at 486.
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2024); Louth v. NFL Enters. LLC, No. 1:21-cv-00405-MSM-PAS, 2022 WL 4130866, at *3

(D.R.I. Sept. 12, 2022).

          Assuming that Continued disclosed Plaintiff’s “personally identifiable information,”7

Plaintiff has plausibly alleged that Continued had knowledge as to the first two elements. After all,

her First Amended Complaint alleges that Continued intentionally installed the Meta Pixel on its

websites “knowing that such code would transmit” customers’ purchase of a subscription and

“later the titles” of any videos they watched using the subscription, along with their FID. (Doc. 16,

First Am. Compl. ¶ 93, at PageID 150–51.)

          But Plaintiff has failed to allege Continued’s knowledge of the third element, since her

First Amended Complaint does not assert that Continued knew that Meta would combine

Plaintiff’s FID and SpeechPathology.com video-viewing history to identify her as the “person”

who “requested or obtained specific video materials or services.” 18 U.S.C. § 2710(a)(3).

          Plaintiff alleges only that Continued knew that the Pixel would inform Meta of its users

who subscribed to Continued websites, identified not by name but by FID. (Doc. 16, First Am.

Compl. ¶ 93, at PageID 150–51.) But she does not assert that Meta (or any other person) actually

personally identified her and connected her to videos she watched—much less that Continued

knew that this alleged privacy violation would occur. Under the facts alleged by Plaintiff,

Continued could reasonably believe it was transmitting anonymized information that Meta would

use only for targeted advertising to Meta users like Plaintiff.

          Consider In re Hulu Priv. Litig., another Meta Pixel case where the plaintiffs claimed that

Hulu knowingly disclosed their “personally identifiable information” by using the Pixel to transmit




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    But see supra Section II.


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their FIDs and watch-page information. 86 F. Supp. 3d at 1097–98. The court noted that the

plaintiffs had to show that Hulu’s knowledge covered “all three VPPA elements: the user’s

identity; the identity of the videos; and the connection between them (that is, the fact that the

consumer has ‘requested or obtained’ the listed videos).” Id. at 1098. Knowing disclosure of “user

and video identification” (such as FIDs and watch-page addresses) was not enough, absent

knowledge of the connection between both. Id. The plaintiffs had to “prove that Hulu knew that

Facebook might combine those discrete things to reconstruct” their “personally-identifiable

information.” Id. at 1099.

       Plaintiff claims that Continued knowingly disclosed her FID in a bundle that also included

her SpeechPathology.com subscription and video-viewing history. (Doc. 16, First Am. Compl. ¶

93, at PageID 150–51.) But like the Hulu plaintiffs, Plaintiff does not claim that Continued knew

that Meta (or anyone else) would connect these “discrete things” to identify her as having

“requested or obtained” specific videos. See In re Hulu Priv. Litig., 86 F. Supp. 3d at 1098. So

Plaintiff has failed to plausibly assert that Continued “knowingly” disclosed her “personally

identifiable information.”

                                          CONCLUSION

       For these reasons, this Court should dismiss Plaintiffs’ Complaint under Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim.




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                                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the above was filed electronically

on July 17, 2025. Notice of this filing will be sent to all parties through the Court’s electronic filing

system.



                                                        /s/ Beth A. Bryan




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